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                                   CERTIFICATE OF SERVICE

               I, Tori L. Remington, hereby certify that on March 5, 2024, I caused the foregoing

Sixth Monthly Staffing and Compensation Report of Huron Consulting Services LLC for the Period

from January 1, 2024, Through January 31, 2024 to be served upon the parties set forth on the

attached service list in the manner indicated, and all ECF participants registered in these cases were

served electronically on the date of filing through the Court’s ECF system at their respective email

addresses registered with the Court.


                                           /s/ Tori L. Remington
                                           Tori L. Remington (DE No. 6901)
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